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                                          U.S. Department of Justice
[Type text]                                                                                                 6/17/20
                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     June 16, 2020

The Honorable Alison J. Nathan                                                 SO ORDERED       6/17/20
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 1306                                                Alison J. Nathan, U.S.D.J.
New York, New York 10007

   Re:United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

This letter is respectfully submitted in response to the Court’s June 9, 2020, Order.

I am the Office’s Criminal Discovery Coordinator and Professional Responsibility Officer for the
Office’s Criminal Division. Commencing around the end of May 2020 I began to look into matters
related to disclosure issues in this case and have since been tasked with providing the Court with
answers to the questions in the Court’s June 9, 2020, Order. From the work I have done so far, I
have concluded that given the length of time this investigation and prosecution has taken, changes
in prosecutors assigned to the matter, the amount of material that may need to be reviewed, and
the number of facts to be assessed, I cannot provide an appropriate response to the Court’s factual
questions by the June 18, 2020, deadline in the Court’s letter. Accordingly the Government SO
respectfully requests an extension of time until July 2, 2020, to respond to those factual questions. ORDERED

The Government respectfully submits the following responses to the Court’s legal questions:

The Court’s Introductory Question. On or before June 18, 2020, the Government is ordered to
respond to Mr. Sadr’s submission, including his specific suggestion for the appropriate mechanism
for dismissal, as outlined in Dkt No.349.

   Response. The Government agrees that the Court’s order of dismissal should specify that the
   dismissal is with prejudice. The Government has no objection to the Court including in its
   Order the language the defendant believes may assist him in any immigration proceedings,
   namely, that “There was never a judgment of conviction in this case. The jury’s verdict is
   vacated, and has no legal effect.” The Government respectfully submits that the defendant’s
   motion for a new trial should be denied as moot given the Government’s determination that
   the matter should be dismissed with prejudice; any discussion of the lesser alternative of a new
   trial would seem unnecessary. The Government respectfully submits this Response both to the
   Court’s question, and in direct response to the defendant’s submission at Docket No. 349.
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Question 9. Does the Government agree that even after granting the application for nolle prosequi
or dismissing the indictment in the manner requested by the defense, the Court possesses
continuing supervisory authority to determine if sanctions are appropriate for any ethical
violations and/or prosecutorial misconduct? See United States v. Seltzer, 227 F.3d 36, 41–42 (2d
Cir. 2000) (discussing district courts’ inherent power to impose sanctions).

   Response. Yes.


                                            Respectfully submitted,

                                            GEOFFREY S. BERMAN
                                            United States Attorney


                                         by: _____________________________
                                             JOHN M. McENANY
                                             Associate United States Attorney
                                             (212) 637-2571


cc: Defense Counsel (by ECF)
